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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


      UNITED STATES, et al.,

                                      Plaintiffs,

              vs.                                                No. 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                                      Defendant.


                           REQUEST FOR HEARING ON
             GOOGLE LLC’S EMERGENCY MOTION FOR ENLARGEMENT OF
               THE PAGE LIMITS FOR SUMMARY JUDGMENT BRIEFING

            Defendant Google LLC (“Google”) has filed an emergency motion pursuant to Local

     Civil Rules 7(F)(3) and 56(B) for an order enlarging the page limits for summary judgment

     briefing as follows: 45 pages for opening briefs, 45 pages for opposition briefs, and 35 pages

     for replies. The opening summary judgment briefs are due April 26, 2024, and the time-period

     between now and then does not permit full briefing and oral argument even on the Court’s one-

     week motion schedule.

            If the Court deems it advisable, Google respectfully requests that the Court set a date

     and time for (1) Plaintiffs to respond to this motion should they choose to do so (Google waives

     a written reply), and (2) oral argument (in person or telephonically). Google submits that

     requiring the response to be filed by 9:00 a.m. on Friday, April 19, 2024, and holding the

     hearing as soon as practicable thereafter will be both efficient and fair.

            Plaintiffs had advanced notice of Google’s motion to enlarge the page limits for

     summary judgment briefing. Google met and conferred with Plaintiffs by videoconference on

     Monday, April 15, 2024, to discuss Google’s motion for a page enlargement. Plaintiffs did not

     provide their position on Google’s requested relief until after 12:00 p.m. on Wednesday, April
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     17, 2024. Plaintiffs will have had an ample opportunity to consider and prepare their response,

     should they choose to file one, if it is due on Friday, April 19, 2024.

            A proposed order is submitted herewith.
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     Dated: April 17, 2024                Respectfully submitted,

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